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                    EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 CAIR FOUNDATION, INC., d/b/a
 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS, & CAIR,

                      Plaintiff,

 v.

 ASMA LORI HAIDRI SAROYA a.k.a.                    Civil Action No.: 0:21-cv-01267
 LORI SAROYA, ASMA SAROYA,
 LORI HAIDRI, LORI HAIDRI-
 SAROYA, & LH,

                      Defendant.


            LORI SORAYA’S FIRST SET OF INTERROGATORIES TO
                        CAIR FOUNDATION, INC.

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Lori

Saroya hereby propounds her First Set of Interrogatories to Plaintiff CAIR Foundation,

Inc., d/b/a Council on American-Islamic Relations, & CAIR (“CAIR”). CAIR shall

respond to these requests in writing according to the Definitions and Instructions

contained herein to Joseph D. Lipchitz, counsel for Plaintiff, at Saul Ewing Arnstein &

Lehr LLP, 131 Dartmouth Street, Suite 501, Boston, Massachusetts 02116, within thirty

(30) days of service of these interrogatories.

                                     INSTRUCTIONS

       1.     Pursuant to Fed. R. Civ. P. 26(e), you are under a duty seasonably to

supplement any response to this request for which you learn that the response is in some
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material respect incomplete or incorrect and if the additional or corrective information

has not otherwise been made known to us during the discovery process or in writing.

       2.      In responding to these interrogatories, you are required to identify every

piece of responsive information or documents in Your possession, custody or control,

regardless of whether the information is possessed by You or whether the information is

possessed by any employees, partners, agents, affiliates, predecessors, successors,

representatives, legal counsel, advisors (including financial or tax advisors), financial

planners, financial managers, investment managers, brokers, dealers, accountants, or

anyone else acting on Your behalf.

       3.      Where knowledge or information in the possession of a party is requested,

such request includes knowledge of the party’s agents, owners, members, directors,

employees, representatives, predecessors, affiliates and, unless privileged, the party’s

attorneys, and all other persons acting or purporting to act on the party’s behalf.

       4.      Whenever appropriate in these Interrogatories, the singular form of a word

shall also be interpreted as its plural.

       5.      Answer each and every interrogatory completely. If you object to an

interrogatory, the reason for all objections shall be specifically and separately stated.

Where a complete answer to a request is not possible, the request shall be answered to the

extent possible.

                                           DEFINITIONS

       1.      The terms “CAIR,” “You” or “Your” encompass CAIR Foundation, Inc.,

d/b/a the Council on American-Islamic Relations and CAIR, including any of its parent

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or subsidiary organizations, affiliates, chapters, agents, representatives, attorneys, or

anyone else acting on its behalf and under its control, and expressly includes but is not

limited to Washington Trust Foundation, Inc., CAIR Action Network, Inc., Council on

American Islamic Relations Action Network, Inc., and CAIR National Legal Defense

Fund, Inc.

          2.   “Communication” means any correspondence, email, contact, discussion,

or any other kind of written or oral exchange or transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and any response thereto between two or more

persons or entities, including, without limitation, all telephone conversations, face-to-face

meetings or conversations, internal or external discussions, or exchanges of a document

or documents, whether directly or through “cc” copying.

          3.   “Document” shall have the meaning set forth in Rule 34(a) of the Federal

Rules of Civil Procedure and shall therefore include, without limitation, any writing,

email, recording, photograph, computer database, or other item containing information of

any kind or nature, however produced or reproduced, whether an original or a duplicate,

whatever its origin or location, and regardless of the form in which such information

exists or is maintained.

          4.   “Person” means any natural person or any legal, governmental or business

entity.

          5.   A “representative” of a person means any officer, director, agent,

employee, attorney, or other representative of such person.

          6.   An “affiliate” of any entity means any person or entity who, directly or

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indirectly, controls, is controlled by, or is under common control with such entity. The

term “control” and its correlatives, as used above, means the possession, whether direct

or indirect, or the power to direct or to cause the direction of the management and

policies of a person, whether through ownership of an entity interest, by corporate

position, by contract, or otherwise.

       7.     “Referring or relating to” means relating to, referring to, describing,

evidencing, or constituting.

       8.     The phrase “relating to” means pertaining to, describing, referring to,

evidencing, reflecting, discussing, showing, supporting, contradicting, refuting,

constituting, embodying, containing, concerning, identifying, or in any way logically or

factually connected with the matter discussed.

       9.     Whenever an individual or entity is referenced, it shall include all agents,

employees, attorneys, officers, directors, trustees and other representatives of that

individual or entity.

       10.    The term “the Complaint” refers to the complaint filed by the Plaintiff in

this action against Lori Saroya.

       11.    “CAIR” shall refer to CAIR Foundation, Inc., d/b/a Council on American-

Islamic Relations, & CAIR.

       12.    “Nihad Awad” refers to the individual by that name, whether or not he has

used the names Nihad Awad, Nihad Hamad, Nihad Hammad, Nihad A. Hammad and

Nihad A. Hemad.

       13.    “Ibrahim Hooper” refers to the individual by that name, whether or not he

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has used the name Carey D. Hooper or Carey Douglas Hooper.


                                 INTERROGATORIES

INTERROGATORY NO. 1:
Please state the name, address and position of each person who provided information in
connection with the preparation of responses to each interrogatory set forth herein.

INTERROGATORY NO. 2:
Please identify by name, address and phone number every public relations, media
consultant or lobbyist engaged by CAIR since 2011.

INTERROGATORY NO. 3:
Please identify every lawsuit, including but not limited to those alleging defamation, that
CAIR has filed from 2011 to the present, and include in your response the parties, the
forum in which the action was commenced, the docket number and the year in which it
was filed.

INTERROGATORY NO. 4:
Please identify every lawsuit or administrative claim of any kind filed by any individual,
entity or agency against CAIR, and/or any director, officer or employee thereof, since
2011, and for each identify the parties, the forum in which it was commenced, the docket
or file number and the year in which it was filed.

INTERROGATORY NO. 5:
Please identify every federal or state criminal indictment or information that has been
issued against, or guilty plea that has been entered by, any individual who has been an
employee, officer or director of CAIR since 2011, and for each such indictment,
information or plea state the name of the defendant(s), the court in which it has been
issued or entered, the docket number and year in which the matter was instituted.

INTERROGATORY NO. 6:
Please identify every contribution, donation or grant of which you are aware to CAIR,
Washington Trust Foundation, Inc., CAIR Action Network, Inc., Council on American
Islamic Relations Action Network, Inc., and CAIR National Legal Defense Fund, Inc. by
any individual or entity residing in, resident of or based in any country other than the
United States, and provide the name and address of the individual or entity and the date
and amount of the contribution, donation or grant.

INTERROGATORY NO. 7:
Please identify any donor or prospective donor to CAIR that declined to contribute to
CAIR, or which reduced its intended contribution, as a result of any statement by Lori

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Saroya, and state the factual basis for your belief that this occurred.

INTERROGATORY NO. 8:
Please identify every email account, social media account, YouTube account and Internet
address used by CAIR since 2011.

INTERROGATORY NO. 9:
Please identify every officer or employee of CAIR or any chapter or affiliate of CAIR
who to your knowledge has asserted, orally or in writing, that he or she has been the
subject of discrimination, harassment or retaliation by any employee or officer of CAIR
or one of its chapters or affiliates since 2011, stating the name of the individual, the
nature of the claim and the names of the individual(s) or entity(ies) claimed to be
responsible.

INTERROGATORY NO. 10:
With respect to every assertion of discrimination, harassment or retaliation identified in
response to the preceding interrogatory, please describe any investigation conducted by
CAIR.

INTERROGATORY NO. 11:
Please identify every settlement agreement, severance agreement or non-disclosure
agreement entered into with any individual by CAIR since 2011, including in your
response the name of that individual, the nature of the agreement, its date and any
financial consideration paid to that individual in connection with that agreement.

INTERROGATORY NO. 12:
Please identify every complaint, grievance or claim of any kind made against Lori Saroya
by any officer or employee of CAIR, or any chapter or affiliate thereof, and state the
name of the individual, the nature and date of the claim and the name of any individual
investigating the complaint, grievance or claim.

INTERROGATORY NO. 13:
Please describe any investigation conducted by CAIR into allegations of misconduct of
any kind by Hassan Shibly.

INTERROGATORY NO. 14:
Please identify every payment in connection with every settlement agreement or
severance agreement that has been paid by CAIR, or any affiliate or chapter thereof, since
2011, and for each such payment identify the payor, the payee, the date, the nature of the
payment and the amount.

INTERROGATORY NO. 15:
Please identify every foreign trip taken by any officer, director or employee of CAIR paid

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for in whole or in part by CAIR since 2011, and include in your response the individual,
the country or countries visited, the purpose of the trip and the date.

INTERROGATORY NO. 16:
Please identify every statement by CAIR to any of its chapters or affiliates, or issued to
the media, or posted on social media, referring to or relating to Lori Saroya since 2011.

INTERROGATORY NO. 17:
Please identify every document referring or relating to or reflecting or constituting in
whole or in part an evaluation or comment on Lori Saroya’s job performance either with
CAIR’s Minnesota chapter or with CAIR.

 Dated: August 23, 2021                      SAUL EWING ARNSTEIN & LEHR, LLP


                                             /s/ Steven Kerbaugh                             _
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                                             Steven C. Kerbaugh (MN #0390429)
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                                             Attorneys for Defendant Lori Saroya



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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


CAIR FOUNDATION, INC., d/b/a
COUNCIL ON AMERICAN-ISLAMIC                                Civil Action No.: 0:21-cv-01267
RELATIONS, & CAIR,

                        Plaintiff,

v.
                                                             AFFIDAVIT OF SERVICE
ASMA LORI HAIDRI SAROYA a.k.a. LORI
SAROYA, ASMA SAROYA, LORI
HAIDRI, LORI HAIDRI-SAROYA, & LH,

                        Defendant.


      Steven C. Kerbaugh, County of Hennepin, State of Minnesota, states that on the 23rd day
of August, 2021 he served the following:

     •   Defendant Lori Soraya’s First Set of Interrogatories to Cair Foundation, Inc.

in the above-captioned matter upon:

Carl E. Christensen                           Michael J. Fortunato
Christensen Law Office PLLC                   Cynthia B. Morgan
800 Washington Avenue North                   Rubin Fortunato & Harbison PC
Suite 704                                     1200 Liberty Ridge Dr., Suite 220
Minneapolis, MN 55401                         Wayne, PA 19087
carl@clawoffice.com                           mfortunato@rubinfortunato.com
                                              cmorgan@rubinfortunato.com


by depositing in the United States Mail at Minneapolis, Minnesota, true and correct copies
thereof, properly enveloped, with postage prepaid.

         I state under penalty of perjury that the foregoing is true and correct.

                                                  s/Steven C. Kerbaugh
                                                Steven C. Kerbaugh




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